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 1                                            THE HONORABLE JOHN C. COUGHENOUR

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 7                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9   BERNADEAN RITTMANN, et al.,
                                              Consolidated Action
10                                            Case No. C16-1554 JCC
                    Plaintiffs,
11                                            DEFENDANTS’ NOTICE OF
     v.                                       PENDENCY OF OTHER ACTIONS
12
     AMAZON.COM, INC., et al.,
13
                    Defendants.
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 1          Under Local Civil Rule 3(h), Defendants Amazon.com, Inc., Amazon Logistics, Inc., and

 2   Amazon.com Services Inc.1 submit this Notice of Pendency of Other Actions.

 3          On June 14, 2024, Amazon.com, Inc. and Amazon Logistics, Inc. (collectively, “Amazon”)

 4   filed petitions under 9 U.S.C. § 4 and applicable state law to compel certain named and opt-in

 5   plaintiffs in this action to arbitrate (the “Section 4 Actions”). Under Ninth Circuit precedent, this

 6   Court’s power with respect to arbitration of these plaintiffs’ claims is limited to staying litigation

 7   of their claims under 9 U.S.C. § 3 or compelling arbitration within the Western District of

 8   Washington, because 9 U.S.C. § 4 does not permit this Court to compel arbitration to take place in

 9   another District. See, e.g., Textile Unlimited, Inc. v. A.BMH & Co., 240 F.3d 781, 785 (9th Cir.

10   2001). The plaintiffs involved in the Section 4 Actions agreed to arbitrate in locations outside this

11   District and thus courts in those locations are the proper forums to enter orders compelling

12   arbitration under 9 U.S.C. § 4. See, e.g., Caremark LLC v. Chickasaw Nation, No. 21-cv-574, 2021

13   WL 2780859, at *1-2 (D. Ariz. July 2, 2021), aff’d, 43 F.4th 1021 (9th Cir. 2022) (granting Section

14   4 petition filed in Arizona by defendant in litigation in Oklahoma); see also Caremark, LLC v.

15   Choctaw Nation, 2024 WL 2887396, at *2 (9th Cir. June 10, 2024) (reaffirming Chickasaw

16   Nation).

17   I.     Titles and case numbers of the other actions, and titles and locations of the courts.
18          The Section 4 Actions are identified below:

19              1. Amazon.com, Inc. et al. v. Craig Adams et al., Case No. 1:24-cv-01679, pending in

20                  the U.S. District Court for the District of Colorado.

21              2. Amazon.com, Inc. et al. v. Mawuili Adzasoo et al., Case No. 2:24-cv-05070,

22                  pending in the U.S. District Court for the Central District of California.

23              3. Amazon.com, Inc. et al. v. Ramin Akramy et al., Case No. 1:24-at-00477, pending

24                  in the U.S. District Court for the Eastern District of California.

25
     1
      While a named Defendant in this matter, Amazon.com Services Inc. no longer exists as it was
26   merged into Amazon.com Services LLC.

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 1            4. Amazon.com, Inc. et al. v. Ahmed Ebrahim Almowlad et al., Case No. 3:24-cv-3627,

 2               pending in the U.S. District Court for the Northern District of California.

 3            5. Amazon.com, Inc. et al. v. Charles Apostolas et al., Case No. To Be Assigned,

 4               pending in the U.S. District Court for the Southern District of California.

 5            6. Amazon.com, Inc. et al. v. Justin Baik et al., Case No. 3:24-cv-01483, pending in

 6               the U.S. District Court for the Northern District of Texas.

 7            7. Amazon.com, Inc. et al. v. Shenia Brown et al., Case No. 1:24-cv-04983, pending

 8               in the U.S. District Court for the Northern District of Illinois.

 9            8. Amazon.com, Inc. et al. v. Anthony Covarrubias et al., Case No. 1:24-cv-00663,

10               pending in the U.S. District Court for the Western District of Texas.

11            9. Amazon.com, Inc. et al. v. Sancak Davarci, Case No. 24-cv-4254, pending in the

12               U.S. District Court for the Eastern District of New York.

13            10. Amazon.com, Inc. et al. v. Steve Eisenberg et al., Case No. 1:24-cv-01015, pending

14               in the Northern District of Ohio.

15            11. Amazon.com, Inc. et al. v. Jessica Fleurimond, Case No. 2:24-cv-02635, pending

16               in the U.S. District Court for the Eastern District of Pennsylvania.

17            12. Amazon.com, Inc. et al. v. Christiano Freitas, Case No. 1:24-cv-00496, pending in
18               the U.S. District Court for the Middle District of North Carolina.

19            13. Amazon.com, Inc. et al. v. John Garciaflores, Case No. 2:24-cv-00433, pending in

20               the U.S. District Court for the District of Utah.

21            14. Amazon.com, Inc. et al. v. Charles Greenberg, Case No. 0:24-cv-61035, pending

22               in the U.S. District Court for the Southern District of Florida.

23            15. Amazon.com, Inc. et al. v. Jeffrey Gusciora et al., Case No. 24-cv-02293, pending

24               in the U.S. District Court for the District of Minnesota.

25            16. Amazon.com, Inc. et al. v. Rhett Howells, Case No. 6:24-cv-00953-MK, pending in

26               the U.S. District Court for the District of Oregon.

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 1              17. Amazon.com, Inc. et al. v. Dwayne Johnson, Case No. To Be Assigned, pending in

 2                  the U.S. District Court for the District of Delaware.

 3              18. Amazon.com, Inc. et al. v. Nikenya Rudd, Case No. 2:24-cv-02410, pending in the

 4                  U.S. District Court for the Western District of Tennessee.

 5              19. Amazon.com, Inc. et al. v. Philip Brandon Whitworth, Case No. To Be Assigned,

 6                  pending in U.S. District Court for the Middle District of Tennessee.

 7              20. Amazon.com, Inc. et al. v. Debra Wilkins, Case No. 2:24-cv-01332-DWL, pending

 8                  in the U.S. District Court for the District of Arizona.

 9              21. Amazon.com, Inc. et al. v. Cynthia Yarleque et al., Case No. 2:24-cv-7046, pending

10                  in U.S. District Court for the District of New Jersey.

11              22. Amazon.com, Inc. et al. v. Michael Zollner, Case No. 1:24-cv-01051, pending in

12                  the U.S. District Court for the Eastern District of Virginia.

13   II.    Brief description of the other actions, and statement of the relationship between the
            Actions.
14

15          Through successive amended complaints, consolidations, and opt-in notices, the number

16   of plaintiffs in the case has swelled to more than 100, including plaintiffs with different arbitration

17   agreements than the version of agreement in the particular Terms of Service considered in 2019.
18   And as the Court is aware, despite its age, this case remains at an early stage of the proceedings.

19   Recently, on May 14, 2024, the Court entered a scheduling order allowing Amazon to renew its

20   motion to compel arbitration at an undetermined future date, Rittmann Dkt., ECF no. 298, and the

21   United States Supreme Court issued additional guidance on the Federal Arbitration Act’s Section

22   1 exemption in April 2024. See Bissonnette v. LePage Bakeries Park St., LLC, 601 U.S. 246

23   (2024). As this history shows, the question of whether many plaintiffs in the case must arbitrate

24   their claims remains unresolved.

25          In the Section 4 Actions, Amazon has filed petitions under 9 U.S.C. § 4 and applicable

26   state law, requesting that the courts compel the respondents, who are among the named or opt-in

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 1   plaintiffs in this action, to individually arbitrate their claims in accordance with the terms of their

 2   agreements within the judicial districts of those courts. Because the respondents have refused to

 3   arbitrate their claims under the parties’ arbitration agreements, Amazon has brought these actions

 4   under Section 4 of the Federal Arbitration Act to compel arbitration in the district where the

 5   respondents agreed to arbitrate their claims, as required by Section 4’s forum selection rules.

 6   III.   Statement regarding whether transfer should be effected under 28 U.S.C. § 1407.

 7          Transfer is not appropriate. While the Section 4 Actions have limited overlap with this

 8   action as described above, the Section 4 Actions do not address the merits of Respondents’ claims.

 9   Additionally, if Respondents’ claims are compelled to arbitration, they will not proceed in any

10   court. While this action and the Section 4 Actions both raise questions regarding the arbitrability

11   of respondents’ underlying claims, the Section 4 Actions do not in any way address the merits of

12   the Respondents’ substantive claims and involve different arbitration provisions and the potential

13   application of different state laws.

14   IV.    Statement regarding whether coordination between the actions might avoid conflicts,
            conserve resources, and promote an efficient determination of the actions.
15

16          In addition to the fact that Section 4’s forum selection rules preclude this Court from

17   compelling arbitration of claims of Respondents outside its jurisdiction, there is only the limited
18   overlap between the actions as described above. Accordingly, coordination between the actions is

19   unlikely to avoid conflicts, conserve resources, or promote an efficient determination of the

20   actions.

21   Dated: June 14, 2024                               Respectfully submitted,
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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on June 14, 2024, I caused to be electronically filed the foregoing

 3   DEFENDANTS’ NOTICE OF PENDENCY OF OTHER ACTIONS with the Clerk of Court

 4   using the CM/ECF system, which will automatically send email notification of such filing to the

 5   registered attorneys of record.

 6

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